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                    EXHIBIT 2
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 1

 2                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 3

 4   UNITED STATES OF AMERICA,       §
                                     §
 5        Plaintiff,                 §
                                     §
 6   VS.                             §        CASE NO. 2:12-CV-02334
                                     §
 7   L. RICHARD SHEARER, et al.,     §
                                     §
 8        Defendants.                §
     ________________________________§
 9
                 DEFENDANT SWENSON TRUSTEE'S OBJECTIONS TO
10          UNITED STATES' RESPONSE TO REQUEST FOR PRODUCTION -
                   FIRST SET BY STANLEY SWENSON AS TRUSTEE
11

12                          REQUESTS AND RESPONSES

13        Swenson Request no. 1. All business master files (BMF's) or

14   individual master files reflecting tax payments, audits and audit

15   adjustments, issuance and contents of notices of deficiencies,

16   date, time, and place of any filing of any tax liens and any

17   other financial or tax documents involving or pertaining to the

18   Trusts or the Shearers for taxable years 1995 through 2001.

19        United   States   Response:   The   United   States   will   provide

20   Certificate of Assessments and Payments for the years at issue

21   for the Shearers and the Trusts (if assessments were made) and

22   more current transcripts. To the extent that any further informa-

23   tion is requested, the United States objects to the request as

24   unduly burdensome, and unlikely to lead to admissible evidence.

25        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

26   This response was obviously answered by an IRS Revenue Officer or

27   other employee who made judicial decisions as to what issues are

28   relevant in this case.     The relevance of issues in this case is


                                         1
       Case 2:12-cv-02334-DJC-DB Document 164-2 Filed 03/28/24 Page 3 of 17

 1   governed by the relevancy test of the       Federal Rules of Evidence.

 2   FRE Rule 401 defines relevant evidence as evidence which makes a

 3   fact issue in a case more likely probable or not probable if such

 4   evidence is true.      Sprint/United Mgmt. v. Mendelsohn 552 U.S.

 5   379, 387 (2008):

 6        Relevance and prejudice under [FRE] 401 and 403 are
          determined in the context of the facts and arguments in
 7        a particular case, and thus are generally not amenable
          to broad per se rules [that would exclude the
 8        evidence]." See also Daubert v. Merrell Dow Pharms.,
          509 U.S. 579, 587 (1993) (FRE 401's basic standard of
 9        relevance is liberal one.)

10        Defendant Swenson timely filed an answer in this case on

11   February 14, 2013. DKT NO. 12.

12        That Amended Answer raised among other defenses the affirma-

13   tive defense of administrative estoppel.       DKT. NO. 12, PP 4-5.

14        Administrative estoppel bars IRS from taking inconsistent

15   tax positions i.e. violating the principle of "double taxation"

16   and after taking such a prohibited action or position, taxing

17   both the Shearers and the trusts on the same income.          Income may

18   not be doubly taxed.

19        Further in this case, as the Trial Court has been made well

20   aware, the Government is asserting entity avoidance theories of

21   sham, alter ego, and nominee, as well as fraudulent transfer in

22   an effort to avoid a legal ruling upholding the trusts as both

23   separate taxable entities and valid trust entities under Califor-

24   nia law.

25        Any inconsistent actions on the part of the IRS or the

26   Government which treat or treated the trusts as valid either

27   prior to the filing of this case or after this case was filed ARE

28   RELEVANT PROOF ADMISSIBLE TO IMPEACH OR REBUT THE IRS AND GOVERN-


                                         2
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 1   MENT POSITIONS THAT THE TRUSTS ARE NOT VALID TAXABLE ENTITIES OR

 2   VALID TRUST ENTITIES UNDER CALIFORNIA STATE LAW.

 3          IRS Revenue Officer and/or auditor Mee Cha who improperly

 4   signed the required verification of the Government's answers to

 5   interrogatories based on his "information and belief" instead of

 6   personal knowledge is no judicial officer and is not entitled to

 7   determine what is relevant and what is not relevant in a civil

 8   tax case.    Likewise, IRS Revenue Officer Mee Cha has no pooh bah

 9   power to refer any questions of relevancy to DOJ's trial attor-

10   neys in the Tax Division.         Even further DOJ trial attorneys

11   apparently failed to properly supervise IRS agent Mee Cha and

12   allowed agent Mee Cha to decide what was relevant and what was

13   not.

14          Evidence 101 in law school teaches all attorneys that under

15   most civil rules applied for litigation in this country and its

16   various states and under the Federal Rules of Civil Procedure the

17   scope of relevance in discovery matters is very broad.

18          Swenson Trustee was entitled to obtain meaningful discovery

19   from the Government in support of his affirmative defenses.              The

20   Government's purported responses to these requests for production

21   deprived Swenson Trustee of his discovery rights.

22          The DOJ trial attorneys are responsible for the glaring

23   deficiencies in its answers to interrogatories and responses to

24   requests for production.    These deficiencies resulted from inten-

25   tional discovery conduct assuming DOJ counsel actually read the

26   answers and responses to the interrogatories and requests for

27   production in this case which the Government claims it sent

28   Defendant Swenson Trustee's counsel Izen.       The existing deficien-


                                         3
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 1   cies in the Government's responses support a finding of fault

 2   required by FRCP Rule 37 and its provisions providing exclusion

 3   as a consequence of such deficiencies.

 4        The fact that this Court previously decided the Shearers'

 5   tax liability for various years in question by a previous summary

 6   judgment ruling did not support and does not currently support

 7   the Government's claims that it was excused from properly re-

 8   sponding   to   Swenson   Trustee's      discovery   requests    because    the

 9   Shearers' tax deficiencies would be decided and any other issues

10   would be irrelevant or "too burdensome" to require proper discov-

11   ery responses and answers.

12        Defendant Swenson's attorney Izen gave Government counsel

13   Jennings several stipulated enlargements to time to answer and

14   respond to Defendant Swenson's First Set of Written Interrogator-

15   ies and First Requests for Production.           The record and docket in

16   this case do not reveal an order from this Court specifically

17   enlarging the thirty day periods for responses and answers provi-

18   ded by FRCP Rules 33 and 34 for serving proper answers and re-

19   sponses to such discovery.            To the extent the Government makes

20   objections to Defendant Swenson's written discovery after those

21   thirty day periods expired, the Government's objections, mainly

22   on relevance grounds, reiterated and restated in all of its

23   discovery responses WERE WAIVED.

24        The   Government     has   not    yet   provided   any   Certificate   of

25   Assessments to Defendant Swenson Trustee for any of the trusts at

26   issue in this case.       If the Government portal actually contained

27   Certificate of Assessment documents at the link provided by the

28   Government in March, 2024, Defendant Swenson Trustee was unable


                                             4
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 1   to access those Certificates of Assessment because there was no

 2   link to download them provided in the Box. See Declaration of Joe

 3   Alfred Izen, Jr. in Support of Exclusion of Evidence or Other

 4   Remedies under FRCP Rule 37.

 5           Currently, trial is set to begin May 7, 2024 and even if

 6   proper information and responses were provided by the Government

 7   at this late date, Defendant Swenson Trustee is greatly preju-

 8   diced in his efforts to prepare for trial and present his case

 9   including proof of his affirmative defenses.

10

11
             Swenson Request no. 2. All documents reflecting any IRS
12
     audit    examination,     or   summons   investigation(s),    whether   such
13
     summons was directed to Defendants or third party(s), involving
14
     the Trusts and the Shearers, including records of third parties
15
     reflecting the Trusts or the Shearers alleged receipt of gross
16
     income in the pertinent tax years from 1995 through 2001 and
17
     records establishing any deductible expenses, credits, or allow-
18
     ances against such gross income.
19
             United   States   Response:   Because   there   is   no   substantial
20
     dispute as to the income reported by the Shearers after they
21
     submitted amended tax returns, the United States objects to the
22
     request for the original audit files as unduly burdensome and
23
     unlikely to lead to admissible evidence. Without waiving said
24
     objection, the Shearer audit files will be produced. The Trust
25
     audit files are not at issue here and will not be produced.
26
             Richard Shearer was the subject of a criminal investigation
27
     and prosecution involving the Trusts. The criminal file is not
28


                                              5
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 1   readily available to the civil trial attorney in this case and

 2   may be subject to legal restrictions on dissemination and will

 3   not be produced, except to the extent that items were used and

 4   included in the civil audit files. Requests pertaining to the

 5   criminal investigation should be directed to the attorneys in

 6   that case. If copies of the publicly-filed criminal exhibits are

 7   obtained, a copy will be served on counsel for the Shearers and

 8   the Trusts.

 9        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

10   See Defendant Swenson Trustee's response and objection to Govern-

11   ment Response to Request for Production No. 1 above.

12

13        Swenson Request no. 3. All notices of deficiencies based on

14   any assessments which were allegedly mailed to the last known

15   address of the Shearers and/or the Trusts which the Government

16   alleges supports the purported tax deficiencies for tax years

17   1995 through 2001 alleged in the Amended Complaint.

18        United   States   Response:   The   notices   of   deficiency   with

19   respect to the Shearers will be produced because the assessments

20   are at issue in this case. The Trust assessments are not directly

21   at issue in this case. Because there is no substantial dispute as

22   to the deductions and adjustments allowed by the Service after

23   the Shearers submitted amended tax returns, the United States

24   objects to the request for the trusts notices as unduly burden-

25   some and unlikely to lead to admissible evidence.

26        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

27   See Defendant Swenson Trustee's response and objection to Govern-

28   ment Response to Request for Production No. 1 above.


                                         6
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 1
          Swenson Request no. 4. All proofs of mailing of any notices
 2
     of deficiency and proofs of receipt of any notices of deficiency
 3
     for tax years 1995 through 2001 which the Government claims were
 4
     sent to the Shearer and Trusts by the Plaintiff.
 5
          United States Response: The proofs of mailing for the Shear-
 6
     ers will be produced. Because the trust assessments are not at
 7
     issue, the trust proofs of mailing will not be produced. To the
 8
     extent that any further information is requested, the United
 9
     States objects to the request as unduly burdensome, and unlikely
10
     to lead to admissible evidence.
11
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
12
     See Defendant Swenson Trustee's response and objection to Govern-
13
     ment Response to Request for Production No. 1 above.
14

15
          Swenson Request no. 5. All documents and evidence reflecting
16
     any payments or credits on the Shearers' and Trusts' tax liabili-
17
     ties alleged in the Government's Amended Complaint from 1995
18
     through 2001.
19
          United   States   Response:   The   United   States   will   provided
20
     Certificate of Assessments and Payments for the years at issue
21
     for the Shearers and the Trusts (if assessments were made) and
22
     more current transcripts. To the extent that any further informa-
23
     tion is requested, the United States objects to the request as
24
     unduly burdensome, and unlikely to lead to admissible evidence.
25
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
26
     See Defendant Swenson Trustee's response and objection to Govern-
27
     ment Response to Request for Production No. 1 above.
28


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 1

 2        Swenson Request no. 6. All documents and evidence which may be

 3   introduced by the Government at the trial on the merits reflect-

 4   ing that the Shearers and/or the Trusts were liable for estimated

 5   tax penalties under IRC       6654 in the amount of $1,943.86. (Docu-

 6   ments applicable to 1999 tax year).

 7        United States Response: The documents will be produced.

 8        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 9        The   Government   has   not   yet   provided   any   Certificate   of

10   Assessments and Notices of Lien to Defendant Swenson Trustee for

11   any of the trusts at issue in this case.              If the Government

12   portal actually contained Certificate of Assessment and Notices

13   of Lien documents at the link provided by the Government in

14   March, 2024, Defendant Swenson Trustee was unable to access those

15   Certificates of Assessment because there was no link to download

16   them provided in the Box. See Declaration of Joe Alfred Izen, Jr.

17   in Support of Exclusion of Evidence or Other Remedies under FRCP

18   Rule 37.

19
          Swenson Request no. 7. All correspondence between the Shear-
20
     ers and/or the Trusts and the Internal Revenue Service concerning
21
     these Defendants and their affairs with the Internal Revenue 1988
22
     through 2001.
23
          United States Response: The Shearer's civil administrative
24
     files will be produced, redacted for privileged material and not
25
     containing grand jury or criminal file material. Criminal mater-
26
     ial should be sought from the prosecutors. If copies of the
27
     publicly-filed criminal exhibits are obtained, a copy will be
28


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 1   served on counsel for the Shearers and the Trusts.

 2           SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 3   See Defendant Swenson Trustee's response and objection to Govern-

 4   ment Response to Request for Production No. 1 above.

 5

 6           Swenson    Request   no.    8.   I.R.S.'s    complete      Administrative

 7   Files    for     the   Shearers    and   the   Trust(s)     for   Tax   Years   1995

 8   through 2011.

 9           United States Response: The Shearer's civil administrative

10   files will be produced, redacted for privileged material and not

11   containing grand jury or criminal file material. Criminal mater-

12   ial should be sought from the prosecutors. If copies of the

13   publicly-filed criminal exhibits are obtained, a copy will be

14   served on counsel for the Shearers and the Trusts.

15           SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

16   See Defendant Swenson Trustee's response and objection to Govern-

17   ment Response to Request for Production No. 1 above.

18

19           Swenson Request no. 9. All documents and evidence reflecting

20   payment and receipt of income allegedly received by the Shearers

21   and Trusts direct or from third parties during tax years 1995,

22   1996, 1997, 1998, 1999, 2000 and 2001.

23           United    States   Response:     Because    there    is   no    substantial

24   dispute as to the tax assessments against the Shearers for the

25   years 1995- 2001, the United States objects to the request as

26   unduly burdensome and unlikely to lead to admissible evidence.

27           SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

28   See Defendant Swenson Trustee's response and objection to Govern-


                                                9
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 1   ment Response to Request for Production No. 1 above.

 2

 3
          Swenson Request no. 10. All documents and evidence, if any,
 4
     reviewed by IRS to confirm the accuracy of any forms submitted to
 5
     IRS by third parties reflecting alleged payment of income to the
 6
     Shearers and/or the Trusts during tax years 1995, 1996, 1997,
 7
     1998, 1999, 2000, and 2001.
 8
          United   States   Response:   Because   there   is   no   substantial
 9
     dispute as to the tax assessments against the Shearers for the
10
     years 1995-2001, the United States objects to the request as
11
     unduly burdensome and unlikely to lead to admissible evidence.
12
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
13
     See Defendant Swenson Trustee's response and objection to Govern-
14
     ment Response to Request for Production No. 1 above.
15

16
          Swenson Request no. 11. All documents and evidence, if any,
17
     reviewed by I.R.S. to calculate any deductions, exemptions, tax
18
     credits, or allowances, to which the Shearers and/or Trusts,
19
     were, or might be entitled for tax years 1995, 1996, 1997, 1998,
20
     1999, 2000, and 2001.
21
          United   States   Response:   Because   there   is   no   substantial
22
     dispute as to the tax assessments against the Shearers for the
23
     years 1995- 2001, the United States objects to the request as
24
     unduly burdensome and unlikely to lead to admissible evidence.
25
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
26
     See Defendant Swenson Trustee's response and objection to Govern-
27
     ment Response to Request for Production No. 1 above.
28


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 1
          Swenson Request no. 12. All documents and evidence reflect-
 2
     ing the content, date, time, and place of filing, of any tax
 3
     liens, levy(s), or Notices of Lien and/or Levy against the Shear-
 4
     ers and/or Trusts, for tax years 1995, 1996, 1997, 1998, 1999,
 5
     2000 and 2001.
 6
          United   States    Response:   Copies   of   the   filed   notices   of
 7
     federal tax lien will be provided.
 8
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
 9
          The   Government   has   not   yet   provided   any   Certificate    of
10
     Assessments and Notices of Lien to Defendant Swenson Trustee for
11
     any of the trusts at issue in this case.                If the Government
12
     portal actually contained CertificateS of Assessment and Notices
13
     of Lien documents at the link provided by the Government in
14
     March, 2024, Defendant Swenson Trustee was unable to access those
15
     Certificates of Assessment and Notices of Lien because there was
16
     no link to download them provided in the Box. See Declaration of
17
     Joe Alfred Izen, Jr. in Support of Exclusion of Evidence or Other
18
     Remedies under FRCP Rule 37.
19

20        Swenson Request no. 13. The administrative file maintained

21   by the IRS, concerning the alleged tax liability of the Shearers

22   and/or the Trusts for tax years 1995 through 2001, including any

23   correspondence by and between the IRS and the Shearers and the

24   Trusts and any third parties, along with all completed I.R.S.

25   forms, including income tax examination change forms.

26        United States Response: The administrative files for the

27   Shearers will be produced, redacted for privileged material and

28   not containing grand jury or criminal file material. Third party


                                          11
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 1   contacts will be produced to the extent it was retained in the

 2   administrative files. The Trust assessments are not directly at

 3   issue in this case, so the request is unduly burdensome and

 4   unlikely to lead to admissible evidence.

 5        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 6   See Defendant Swenson Trustee's response and objection to Govern-

 7   ment Response to Request for Production No. 1 above.

 8

 9        Swenson Request no. 14. All revenue agent reports or similar

10   documents including those suggesting, or referencing income tax

11   examination changes for the Shearers and/or the Trusts for the

12   years 1995 through 2001.

13        United States Response: The administrative files for the

14   Shearers will be produced, redacted for privileged material and

15   not containing grand jury or criminal file material. Third party

16   contacts will be produced to the extent it was retained in the

17   administrative files. The Trust assessments are not directly at

18   issue in this case, so the request is unduly burdensome and

19   unlikely to lead to admissible evidence.

20        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

21   See Defendant Swenson Trustee's response and objection to Govern-

22   ment Response to Request for Production No. 1 above.

23

24        Swenson Request no. 15. Any documents and evidence reflect-

25   ing or tending to prove that the Shearers were financially insol-

26   vent and/or were unable to pay their debts in the ordinary course

27   of business when the Shearers made the transfers of property to

28   the Trusts as alleged in the Plaintiff;s Amended Complaint.


                                          12
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 1
          United States Response: The documents will be produced.
 2
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
 3
          The   Government   has   not   yet   provided   any   Certificate    of
 4
     Assessments and Notices of Lien or any other additional supple-
 5
     mental documents to Defendant Swenson Trustee for any of the
 6
     trusts at issue in this case.       If the Government portal actually
 7
     contained CertificateS of Assessment and Notices of Lien docu-
 8
     ments or other supplemental documents at the link provided by the
 9
     Government in March, 2024, Defendant Swenson Trustee was unable
10
     to access those Certificates of Assessment and Notices of Lien or
11
     other supplmental documents because there was no link to download
12
     them provided in the Box. See Declaration of Joe Alfred Izen, Jr.
13
     in Support of Exclusion of Evidence or Other Remedies under FRCP
14
     Rule 37.
15

16        Swenson Request no. 16. Any documents or evidence reflecting

17   or tending to prove that the trusts were nominees of the Shearers

18   and that the proper rules of internal governance or trust forma-

19   lities for such trust entities under California State Law were

20   not observed or followed during the tax years at issue, or during

21   any other relevant time period.

22        United States Response: The documents will be produced.

23        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

24        The   Government   has   not   yet   provided   any   Certificate    of

25   Assessments and Notices of Lien or any other additional supple-

26   mental documents to Defendant Swenson Trustee for any of the

27   trusts at issue in this case.       If the Government portal actually

28   contained CertificateS of Assessment and Notices of Lien docu-


                                          13
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 1   ments or other supplemental documents at the link provided by the

 2   Government in March, 2024, Defendant Swenson Trustee was unable

 3   to access those Certificates of Assessment and Notices of Lien or

 4   other supplmental documents because there was no link to download

 5   them provided in the Box. See Declaration of Joe Alfred Izen, Jr.

 6   in Support of Exclusion of Evidence or Other Remedies under FRCP

 7   Rule 37.

 8

 9        Swenson Request no. 17. Any documents or evidence reflecting

10   or tending to prove that the trusts were alter egos of the Shear-

11   ers and that the proper rules of internal governance or trust

12   formalities for such trust entities under California State Law

13   were not observed or followed during the tax years at issue, or

14   during any other relevant time period.

15        United States Response: The documents will be produced.

16        SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

17        The   Government   has   not   yet   provided   any   Certificate    of

18   Assessments and Notices of Lien or any other additional supple-

19   mental documents to Defendant Swenson Trustee for any of the

20   trusts at issue in this case.       If the Government portal actually

21   contained CertificateS of Assessment and Notices of Lien docu-

22   ments or other supplemental documents at the link provided by the

23   Government in March, 2024, Defendant Swenson Trustee was unable

24   to access those Certificates of Assessment and Notices of Lien or

25   other supplmental documents because there was no link to download

26   them provided in the Box. See Declaration of Joe Alfred Izen, Jr.

27   in Support of Exclusion of Evidence or Other Remedies under FRCP

28   Rule 37.


                                          14
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 1
          Swenson Request no. 18. Any documents or other evidence
 2
     reflecting or tending to prove that no consideration or inade-
 3
     quate or unfair consideration was paid by the Trusts for any
 4
     conveyance by the Shearers rendering such conveyances or trans-
 5
     fers fraudulent.
 6
          United States Response: The documents will be produced.
 7
          SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:
 8
          The   Government   has   not   yet   provided   any   Certificate     of
 9
     Assessments and Notices of Lien or any other additional supple-
10
     mental documents to Defendant Swenson Trustee for any of the
11
     trusts at issue in this case.       If the Government portal actually
12
     contained CertificateS of Assessment and Notices of Lien docu-
13
     ments or other supplemental documents at the link provided by the
14
     Government in March, 2024, Defendant Swenson Trustee was unable
15
     to access those Certificates of Assessment and Notices of Lien or
16
     other supplmental documents because there was no link to download
17
     them provided in the Box. See Declaration of Joe Alfred Izen, Jr.
18
     in Support of Exclusion of Evidence or Other Remedies under FRCP
19
     Rule 37.
20

21
          Swenson Request no. 19. All business master files, BMF's, or
22
     individual master files reflecting tax payments, audits, notices
23
     of deficiencies, and any other transactions concerning the Straw-
24
     berry Valley Family Trust, whose E.I.N. is XX-XXXXXXX, from years
25
     1995 through 2014.
26
          United   States    Response:   The   response   to    request   no.   2,
27
     above, is incorporated here.
28


                                          15
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 1           SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

 2   See Defendant Swenson Trustee's response and objection to Govern-

 3   ment Response to Request for Production No. 1 above.

 4

 5           Swenson Request no. 20. All business master files (BMF's) or

 6   individual master files reflecting tax payments, audits, notices

 7   of deficiencies, and any other transactions concerning the Re-

 8   gency Trust, whose E.I.N. is XX-XXXXXXX, from years 1995 through

 9   2014.

10           United   States   Response:   Because   there   is   no   substantial

11   dispute as to the tax assessments against the Shearers for the

12   years 1995-2001, the United States objects to the request as

13   unduly burdensome and unlikely to lead to admissible evidence.

14   The amount of the assessments against the Trusts are not at issue

15   in this case because the Trusts will be disregarded as entities

16   if the United States prevails. The trial attorney does not have

17   ready access to the files, if any, for tax years after 2001. The

18   United States objects to the request for post-suit years as

19   unduly burdensome, but reserves the right to ask the Trustees

20   about activity after 2001 to show nominee status.

21           SWENSON OBJECTION TO GOVERNMENT'S OBJECTION AND RESPONSE:

22   See Defendant Swenson Trustee's response and objection to Govern-

23   ment Response to Request for Production No. 1 above.

24

25

26

27

28


                                            16
